Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 1 of 14
                         EXHIBIT
                            A
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 2 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 3 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 4 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 5 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 6 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 7 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 8 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 9 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 10 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 11 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 12 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 13 of 14
Case 1:16-cv-00472-JAP-KRS Document 1-1 Filed 05/24/16 Page 14 of 14
